   Case 22-30001     Doc 13    Filed 03/28/22 Entered 03/28/22 17:33:26       Desc Main
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                               Certificate Number: 02998-NCW-DE-02229120917-08038036

                                                            Bankruptcy Case Number: 22-30001




                Certificate of Debtor Education

I CERTIFY that on 3/202022, at 8:22 pm Eastern Time, Brent A Hindman completed a course

on personal financial management given by internet by Consumer Education Services, Inc.,

DBA Start Fresh Today/DBA Affordable Bankruptcy Course, a provider approved pursuant to

11 U.S.C. § 111 to provide an instructional course concerning personal financial

management in the western district of North Carolina.




                                               By:      /s/ Terri Everett


                                               Title: Certified Credit Counselor


                                               Date: 3/21/2022


*Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of c
ounseling from the nonprofit budget and credit counseling agency that provided the individual
 the counseling services and a copy of the debt repayment plan, if any, development through
the credit counseling agency. See 11 U.S.C. §§ 109 (h) and 521 (b).
                                  Case 22-30001                    Doc 13          Filed 03/28/22 Entered 03/28/22 17:33:26                                                   Desc Main
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    Fill in this information to identify the case:


     Debtor 1               Brent                    A                          Hindman
                            First Name               Middle Name                Last Name

     Debtor 2
     (Spouse, if filing)    First Name               Middle Name                 Last Name


     United States Bankruptcy Court For the Western District                     District of North Carolina
                                                                                             (State)
     Case Number:              22-30001
     (If known)




Official Form 423
Certification About a Financial Management Course                                                                                                                                           12/15

If you are an individual, you must take an approved course about personal financial management if:

n    you filed for bankruptcy under chapter 7 or 13, or
n    you filed for bankruptcy under chapter 11 and § 1141 (d)(3) applies.

In a joint case, each debtor must take the course. 11 U.S.C. §§ 727(a)(11) and 1328(g).

After you finish the course, the provider will give you a certificate. The provider may notify the court that you have completed the course.
If the provider does notify the court, you need not file this form. If the provider does not notify the court, then Debtor 1 and Debtor 2 must each file this form with
the certificate number before your debts will be discharged.

n    If you filed under chapter 7 and you need to file this form, file it within 60 days after the first date set for the meeting of creditors under § 341 of the Bankruptcy Code.

n If you filed under chapter 11 or 13 and you need to file this form, file it before you make the last payment that your plan requires or before you file a motion for a discharge
under § 1141(d)(5)(B) or § 1328(b) of the Bankruptcy Code. Fed. R. Bankr. P. 1007(c).

In some cases, the court can waive the requirement to take the financial management course. To have the requirement waived, you must file a motion with the court
and obtain a court order.



     Part 1:               Tell the Court About the Required Course

You must check one:

 þ       I completed an approved course in personal financial management:

         Date I took the course                  03/21/2022
                                                 MM / DD / YYYY

         Name of approved provider               Consumer Education Services, Inc., CBA Start Fresh Today/DBA Affordable Bankruptcy Course


         Certificate number                      02998-NCW-DE-02229120917-08038



 q      I am not required to complete a course in personal financial management because the court has granted my motion for a waiver of the requirement based on
         (check one):

         q      Incapacity. I have a mental illness or a mental deficiency that makes me incapable of realizing or making rational decisions about finances.

         q      Disability. My physical disability causes me to be unable to complete a course in personal financial management in person, by phone, or through the internet, even
                            after I reasonably tried to do so.

         q      Active duty. I am currently on active military duty in a military combat zone.

         q      Residence. I live in a district in which the United States trustee (or bankruptcy administrator) has determined that the approved instructional courses cannot adequately
                           meet my needs.


     Part 2:               Sign Here



         I certify that the information I have provided is true and correct.


         /S/ Brent Hindman                                                         Brent Hindman                                                     Date 03/21/2022
         Signature of debtor named on certificate                                  Printed name of debtor                                                   MM / DD / YYYY




      Official Form 423                                                   Certification About a Financial Management Course
